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                       EXHIBIT 4
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                EXPERT REPORT OF JOHN J. MACDONALD III




                                 May 10, 2019




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    Table 4: Percentage of McCann Flagged Cardinal Dosage Units Affected by Contextual
    Analysis (2006-2017)

                                                             % of McCann’s
                                                                Six-Month
                                                                               % of Any Method
   Contextual Analysis              Description              Trailing Method
                                                                                (Dosage Units)
                                                              (Dosage Units)

  Shipments captured
  by McCann “carry-         Captured because a prior
  forward” rule             shipment violated the criteria
                            (i.e., not based on the
                                                                 94.3%               31.8%
                            shipment itself)

  Hydrocodone
  Rescheduling              Captured because no
                            adjustment for hydrocodone            5.0%               19.2%
                            rescheduling

  Size of Pharmacy
                            Captured despite less than
                            22% of customer’s shipped
                            volume was controlled
                                                                 84.0%               82.3%
                            substances

  Proximity to a
  Hospital                  Captured despite pharmacy
                            being located in close               26.9%               28.3%
                            proximity to a hospital

  Hospital Contractual
  Relationship              Captured despite pharmacy
                            having a 340B relationship            8.6%                8.4%
                            with hospital

  Total Percentage of McCann’s Analysis Affected by
  Contextual Analysis                                            99.6%               95.5%




     A.      Review Each Order as a Stand-Alone Shipment

     82.     As described above, each of McCann’s methods identifies not just shipments above his
             defined threshold for the month being analyzed, but also all subsequent shipments for a




                                                  33
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                    customer after a single flagged shipment. 84 For instance, if a shipment in January 2006
                    exceeded the volume threshold identified by McCann’s method, all subsequent shipments
                    of that drug to the same customer are flagged. This “carry-forward” assumption drives a
                    majority of McCann’s flagged shipments under the six-month trailing method, over 94%
                    of which would fall below his monthly thresholds if evaluated on a monthly basis. 85

           83.      To quantify the effect of this assumption on McCann’s results, I have implemented his
                    methods without the carry-forward assumption (i.e., only identifying the particular
                    shipments that would be above the monthly thresholds). The results indicate that in many
                    cases, McCann is not identifying “orders of unusual size;” rather, he is flagging customers
                    and capturing all of their product shipments after a certain date. For example, the results of
                    the six-month trailing method appear to identify a large number of shipments exceeding
                    the identified threshold, however, when the carry-forward rule is eliminated, even under
                    McCann’s methodology, only about 5% of Cardinal doses shipped would be identified.
                    Table 5 below describes the impact of removing the carry-forward rule for each of
                    McCann’s methods.

Table 5: Comparison of Percentage of Cardinal Transactions Flagged When Removing Carry-
Forward (2006-2017) 86

                                                                                                  % of McCann Flagged
                                           % Flagged - McCann          % Flagged - Remove             Dosage Units
              McCann Method                      Method                   Carry-Forward                 Affected
             Six-Month Trailing                                                                                  94.3%
      Two Times Trailing Twelve-Month                                                                            72.6%
     Three Times Trailing Twelve-Month                                                                           78.3%
          8,000 Monthly Maximum                                                                                  57.8%
        Maximum Daily Dosage Units                                                                               37.4%
           Any McCann Method                                                                                     31.8%



           84.      An issue specific to Cardinal is that the company produced data back to 1996 whereas
                    complete data is not consistently available for other distributors until 2006. Because


84
       “In this approach and the others implemented below I have been asked by Counsel to assume that the Distributor
       did not effectively investigate the flagged transactions and so every subsequent transaction of that drug code is
       also flagged.” McCann Report, ¶¶ 132, 136, 140, 144, 148.
85
       See Table 5.
86
       McCann Dataset.


                                                           34
